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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

NORTHWOOD, INC.,

                      Plaintiff,

v.                                                        Case No. 20-13356

CLINICAL WOUND SOLUTIONS, LLC,

                Defendants.
________________________________/

 ORDER DIRECTING DEFENDANT TO SHOW CAUSE WHY PLAINTIFF’S MOTION
       FOR PRELIMINARY INJUNCTION SHOULD NOT BE GRANTED

       Plaintiff Northwood, Inc., brings this action for breach of contract against

Defendant Clinic Wound Solutions, LLC. (ECF No. 1.) Plaintiff is a third-party

administrator of health insurance policies. It alleges that Defendant, a medical supplies

provider, breached its contract with Plaintiff by billing patients directly. (Id., PageID.5-6.)

       On December 23, 2020, the same day Plaintiff filed its complaint, Plaintiff filed a

motion for a temporary restraining order and preliminary injunction. (ECF No. 2.) On

December 30, 2020, the court denied the motion for a temporary restraining order,

directed Plaintiff to complete service by January 11, 2021, and set a telephonic

scheduling conference for January 29, 2021. (ECF No. 5, PageID.120.) The court did

not resolve Plaintiff’s motion for a preliminary injunction.

       On January 29, 2021, the court held a telephonic scheduling conference. At the

conference, Defendant agreed to accept service of process. (ECF No. 9, PageID.126.)

The parties agreed to discuss in good faith Plaintiff’s motion for preliminary injunction
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and the schedule for the case going forward. (Id.) A follow-up telephonic conference

was set for February 12, 2021. (Id.)

       On February 12, 2021, the court held a telephonic status conference.

Defendant’s attorney was unaware the conference was taking place and joined ten

minutes late. At the conference, the parties agreed that Defendant, by March 5, 2021,

would either file a response to Plaintiff’s motion for preliminary injunction or file a motion

to dismiss. (ECF No. 10, PageID.127-28.)

       On March 5, 2021, Defendant’s attorney contacted the court’s case manager

stating that she was unable to access the court’s online filing system. The attorney

asserted that she had drafted a motion to dismiss but could not file the motion by the

end of the day, and instead she emailed a motion to the court’s case manager. The

court does not accept for filing documents emailed by an attorney. The case manager

informed the attorney that she must register in the United States Eastern District of

Michigan as an efiler to electronically file motions on the court’s docket, but gave the

Defendant a brief extension to file the motion.

       Twenty-one days have passed since March 5, and Defendant’s attorney has still

not registered as an efiler in this district. Defendant has filed neither a motion to dismiss

nor a response to Plaintiff’s motion for a preliminary injunction. (Id.) In fact, despite

agreeing on January 29 to accept service of process, an attorney has not entered an

appearance on Defendant’s behalf. (ECF No. 9, PageID.126.) From the court’s

knowledge, the attorney who contacted the court’s case manager is a resident of Illinois

and is not admitted to the State Bar of Michigan. Defendant has provided no indication




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as to whether it has hired local counsel, as is required by the local rules. See E.D. Mich.

LR 83.20(f).

        Plaintiff’s motion for preliminary injunction appears well supported, and the court

is inclined to grant it. Defendant has known of the motion since January 29, 2021, at the

latest, and three weeks have passed since Defendant’s original deadline to file a

response expired; two weeks have passed since the case manager extended the

deadline to allow counsel an opportunity to properly file the motion. The court will now

order Defendant to show cause within seven days why Plaintiff’s motion for a

preliminary injunction should not be granted. Accordingly,

        IT IS ORDERED that Defendant is DIRECTED TO SHOW CAUSE, in writing, no

later than April 1, 2021, why Plaintiff’s Motion for Preliminary Injunction (ECF No. 2)

should not be granted.

                                                         s/Robert H. Cleland                  /
                                                         ROBERT H. CLELAND
                                                         UNITED STATES DISTRICT JUDGE
Dated: March 25, 2021

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 25, 2021, by electronic and/or ordinary mail.

                                                          s/Lisa Wagner                       /
                                                          Case Manager and Deputy Clerk
                                                          (810) 292-6522
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